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8                            UNITED STATES DISTRICT COURT
9                          SOUTHERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                          Case No.: 17cr984-JAH
12                                     Plaintiff,
                                                        ORDER DENYING DEFENDANT’S
13   v.                                                 MOTION FOR A REDUCTION OF
                                                        SENTENCE PURSUANT TO
14   NOHEMI VAZQUEZ ,
                                                        18 U.S.C. § 3582(c)(2)
15                                   Defendant.
16
17                                      INTRODUCTION
18         Pending before the Court is Defendant Nohemi Vazquez’ (“Defendant”) motion for
19   a reduction of sentence pursuant to 18 U.S.C. § 3582(c)(2). See Doc. No. 44. Plaintiff
20   United States of America (“Government”) filed a response and opposition to Defendant’s
21   motion. See Doc. No. 320. Having carefully considered the pleadings in this action and for
22   the reasons set forth below, the Court hereby DENIES Defendant’s motion.
23                                      BACKGROUND
24         On April 20, 2017, a three-count information was filed charging Defendant and co-
25   defendant Guillermo Padilla in Count One with 21 U.S.C. §§ 952 and 960, Importation of
26   Cocaine; in Count Two with 21 U.S.C. §§ 952 and 960, Importation of Heroin; and in
27   Count Three with 21 U.S.C. §§ 952 and 960, Importation of Methamphetamine. Doc. No.
28   31 at 4. On May 4, 2017, Defendant entered into a plea agreement with the Government

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1    and pled guilty to all counts. See Doc. No. 23. The Court sentenced Defendant to a 72-
2    month term of imprisonment followed by 3 years of supervised release. Doc. No. 40.
3          On April 28, 2018, Defendant filed the instant motion for a reduction of sentence,
4    claiming she was misinformed by her attorney when she was sentenced. Doc. No. 44 at 4.
5    Defendant alleges that her attorney claimed she would only serve 4 years. Id. The United
6    States filed a response and opposition to Defendant’s motion.
7                                          DISCUSSION
8          “As a general matter, courts may not alter a term of imprisonment once it has been
9    imposed.” United States v. Leniar, 574 F.3d 668, 673 (9th Cir. 2009) (internal quotations
10   omitted). Section 3582(c)(2) authorizes district courts to modify an imposed sentence “in
11   the case of a defendant who has been sentenced to a term of imprisonment based on a
12   sentencing range that has subsequently been lowered by the Sentencing Commission.”
13   United States v. Dunn, 728 F.3d 1151, 1155 (9th Cir. 2013). The Supreme Court held in
14   Dillion v. United States, 560 U.S. 817 (2010) that section 3582(c)(2) “establishes a two-
15   step inquiry.” Id. at 826. At step one, the court must determine whether a sentence reduction
16   would be consistent with the Commission’s guidelines in section 1B1.10. Id. At step two,
17   the court shall consider any applicable § 3553(a) factors and determine whether the
18   reduction authorized by reference at step one is warranted in whole or in part under the
19   circumstances of the case. Dillion, 560 U.S. at 827.
20         Here, Defendant is not seeking a sentence reduction on the basis of her guideline
21   range being lowered by the Sentencing Commission. Defendant petitions for a sentence
22   reduction after allegedly being misinformed by her counsel regarding her possible
23   sentence. However, Defendant is unable to satisfy the requisite step one inquiry under 18
24   U.S.C. § 3582(c)(2). In order for this Court to reduce Defendant’s sentence under 18 U.S.C.
25   § 3582(c)(2), her sentencing Guideline must have been subsequently lowered by the
26   Sentencing Commission. Dillion, 560 U.S. at 831. During Defendant’s sentencing in 2017,
27   Defendant had a base offense level of 38, pursuant to the United States Sentencing
28   Guidelines § 2D1.1 of the 2016 Sentencing Guidelines. See Doc. No. 31 at 7. In accordance

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1    with the most recent Sentencing Guidelines, Defendant’s base offense level and Guideline
2    range remains unchanged. See U.S.S.G. §2D1.1 (2018). Therefore, the Commission has
3    not amended the Guidelines in a way that would entitle Defendant to a reduced sentence
4    under 18 U.S.C. § 3582(c)(2). Accordingly, Petitioner is not entitled to a reduced sentence.
5                                        CONCLUSION
6          Accordingly, IT IS HERE BY ORDERED that Defendant’s motion for a reduction
7    of sentence pursuant to 18 U.S.C. § 3582(c)(2) is DENIED.
8          IT IS SO ORDERED.
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11   DATED: October 16, 2020
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13                                                Hon. John A. Houston
                                                  United States District Judge
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